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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                              CRIMINAL ACTION

VERSUS                                                NO. 94-381

LEN DAVIS                                             SECTION: “B”

                                      NOTICE OF APPEAL

       NOW INTO COURT, through undersigned counsel, comes the defendant, LEN DAVIS,

who hereby files his notice of appeal to the United States Court of Appeals for the Fifth Circuit

from the Order and Reasons of the district court of March 13, 2019 (Doc. 2476), dismissing his

timely-filed F.R.Civ.Proc. 59(e) motion, as well as from all related and underlying judgments,

rulings and orders of the district court, including the district court’s Order and Reasons (Doc. 2466)

denying an evidentiary hearing and dismissing all pending motions and claims for relief, the

Judgment (Doc. 2467) denying the Section 2255 motion with prejudice, and the denial of issuance

of a Certificate of Appealability (Doc. 2469).

                                               RESPECTFULLY SUBMITTED,

                                               /s/ Sarah L. Ottinger
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been filed

with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic

filing to all counsel of record on this 10th day of May, 2019.


                                              /s/ Sarah L. Ottinger
                                              Sarah L. Ottinger
